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UNITED STATES DISTRICT COURT

   
  

Western Distrl`ct of Tennessee 05 JUL 29 PH l= 23
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United states of America 0RDER HoLDING PR g 1PEQSUHT
FoR REVoCATIoN HEA `G `“
_ v.
NAPoLEoN FRosr ease Number; 96-20173-1\/11/
97-20120-M1

 

On July 29, 2005, the defendant appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. At this hearing, the defendant WAIVED
her right to a preliminary hearing. Tony Arvin , AUSA, representing the government, and L.
Daniel Johnson, defense attorney, representing the defendant, were present.

Accordingly, the defendant is held to a final revocation hearing before Judge McCalla. It
is presumed that the United States District Court will set this matter for a revocation hearing
pursuant to Federal Rule of Criminal Procedure 32.1(a)(2), and will see that appropriate notices

are given. The defendant is remanded to the custody of the United States Marshal.

F<OM,;@ 74 ,%M,W

United Stares Magisrrate Judge

 

Dat‘e.' 52 , 2005

Th‘rs document entered on the docket sheet In compliance 0
with sure sr an :/or 32( (b) wach on '7 ' 'O z

UNITED sTATE DISTRIC COUR - WTERN D's'TRCT OFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:96-CR-20173 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

